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    FILED & JUDGMENT ENTERED
           Steven T. Salata


             January 18 2023


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                         _____________________________
                                                                                  J. Craig Whitley
                                                                           United States Bankruptcy Judge




                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    (Charlotte Division)

In re:                                        )    Chapter 11
                                              )
B GSE GROUP, LLC,                             )    Case No. 23-30013
                                              )
                              Debtor.         )

           INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL

         On January 9, 2023, debtor and debtor in possession B GSE Group, LLC (the

“Debtor”) filed a Motion to Use Cash Collateral (the “Motion”) [Doc. 6]. The Debtor

requested that an expedited hearing be scheduled on the Motion. The Motion seeks entry

of an interim order (the “Interim Order”) authorizing the use of cash collateral as defined

under 11 U.S.C. § 363(a) on a preliminary basis for the period commencing as of the date of

the bankruptcy filing through the date of a continued hearing on the Motion.

         The Motion came before the Court on January 11, 2023, for a hearing (the “Interim

Hearing”) on notice to all interested parties via ECF noticing, U.S. mail, electronic mail,

and/or facsimile transmission. The notice provided is adequate and reasonable under the

circumstances of this case. Based upon the evidence presented at the Interim Hearing, the

Debtor’s use of cash collateral on an interim basis in accordance with the terms and




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conditions set forth herein is in the best interest of the estate and its creditors; accordingly,

it is hereby ORDERED that:

         1.      The Debtor may use cash collateral during the period beginning with the

filing of its bankruptcy petition on January 6, 2023 (the “Petition Date”), and continuing

through the date of the Continued Hearing (as defined below), in the ordinary course of

business for the expenses specified in the budget (the “Budget”), which is attached hereto

and incorporated herein by reference as Exhibit A. The Debtor may use cash collateral

only for ordinary and necessary business expenses consistent with the specific items and

amounts contained in the attached budget; provided, however, that the Debtor may vary

from the Budget by 10% per line item on a cumulative basis.

         2.      The Debtor shall not use, sell or expend, directly or indirectly, cash collateral

or any proceeds, products or offspring thereof, except as authorized in this Interim Order.

         3.      The Debtor’s authority to use cash collateral in accordance with the terms

and conditions set forth herein shall terminate at 11:59 p.m. on the date of the Continued

Hearing, unless the Court further authorizes the use of cash collateral at the Continued

Hearing on the Motion or upon mutual consent of the affected parties.

         4.      Because Truist Bank and the United States Small Business Administration

(together, the “Lenders”) may have an interest in cash collateral that may be used by the

Debtor in accordance with this Interim Order, said Lenders shall be granted adequate

protection as set forth in the following paragraph.

         5.      As adequate protection for the Lenders’ interest in cash collateral, to the

extent the Debtor uses such cash collateral:

               (a)     Replacement Liens: the Lenders are granted valid, attached, choate,
         enforceable, perfected and continuing security interests in, and liens upon all post-


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         petition accounts receivable of the Debtor, and the proceeds thereof, to the same
         extent and validity as the liens and encumbrances of the Lenders attached to the
         Debtor’s accounts receivable pre-petition (the “Post-Petition Collateral”). The
         Lenders’ security interests in, and liens upon, the Post-Petition Collateral shall
         have the same validity as existed between the Lenders, the Debtor, and all other
         creditors or claimants against the Debtor’s estate on the Petition Date and shall be
         deemed immediately perfected without the need for any further action on the part
         of the Lenders;

                (b)    Reporting: beginning on Wednesday, January 18, 2023 and
         continuing on the Wednesday of each week thereafter, the Debtor shall provide the
         Lenders and trustee with a cash disbursement and accounts receivable aging report
         for the preceding week. Additionally, within one week after the 15th and final day
         of each month, the Debtor shall provide the Lenders and trustee with a current
         budget-to-actual comparison in the line item format of the Budget;

                (c)     Post-Petition Bank Account(s): the Debtor shall maintain its post-
         petition bank account(s) with Truist Bank as a debtor-in-possession account(s); and

                (d)    Access to Books and Records: upon reasonable prior notice, the
         Debtor shall permit the Lenders reasonable access to the Debtor’s premises, books,
         and records, and shall consult, cooperate, and comply with the Lenders’ reasonable
         requests for information regarding its sales, expenses, accounts, accounts
         receivable, and inventory.

         6.       The carveouts from cash collateral as shown in the Budget line items for

payment of the allowed fees and expenses incurred by the Debtor’s professionals and the

subchapter V trustee are approved.

         7.       This Interim Order is without prejudice to the rights of the Lenders or other

creditors to seek additional adequate protection or other relief available under the

Bankruptcy Code, and entry of this Interim Order is without prejudice to the rights of the

Lenders or other interested parties to challenge or otherwise contest entry of a final order

authorizing the use of cash collateral.

         8.       This Interim Order is also entered without prejudice to: (a) the claims,

rights, and defenses that the Debtor and/or any other party in interest may have to challenge

the nature, validity, priority or extent of the liens asserted by the Lenders or any other


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creditor; and (b) any and all claims, rights, and defenses the Lenders or such other creditors

may assert in any action to challenge the nature, validity, priority or extent of the liens

they may assert.

         9.        A continued hearing on the use of cash collateral shall be held on January 31,

2023 at 10:30 a.m. (the “Continued Hearing”), in the United States Bankruptcy Court, Charles

Jonas Federal Building, JCW Courtroom 2B, 401 West Trade Street, Charlotte, North

Carolina 28202.

         10.       Any party wishing to object to the relief granted herein being allowed on a

continuing basis shall file such objection with the Court in accordance with the Local Rules of

the United States Bankruptcy Court, together with proof of service thereof, showing service

upon all interested parties, so as to be received no later than three (3) business days prior to the

Continued Hearing.

         11.       The Debtor is directed to serve a copy of this Order upon: (a) the Bankruptcy

Administrator for the Western District of North Carolina, (b) the sub-chapter V trustee, (c) the

Debtor’s 20 largest unsecured creditors; (d) the Lenders, and (e) those parties requesting

notice pursuant to Bankruptcy Rule 2002 within three (3) days after its entry and shall file a

certificate of service specifying the manner and method of service.

                                              [EXHIBIT A FOLLOWS]



This Order has been signed electronically.                                   United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




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                               Exhibit A
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                               B GSE Group, LLC
                                Cash Collateral Budget



                                                             January 2023
            Beginning Cash Balance                       $          123,000

            Cash Collections                                      1,109,944

            Cost of Goods                                           577,171
            Officer Salary                                           31,848
            Payroll (including benefits)                            248,008
            Advertising & Marketing                                     856
            Automobile Expense                                        1,129
            Bank Charges                                                808
            Contract Labor                                           33,358
            Dues & Subscriptions                                        131
            Employee Expenses                                         2,106
            Insurance                                                12,532
            Meals & Entertainment                                         71
            Miscellaneous                                               998
            Office Supplies                                           5,543
            Postage & Delivery                                        1,952
            Printing & Reproduction                                     639
            QB Fees                                                     375
            Rent                                                     13,025
            Taxes                                                         70
            Telephone                                                 1,214
            Training/Education                                            24
            Travel Expense                                           31,944
            Utilities                                                 2,902
            Trustee Fees                                              3,000
            Professional Fees Carve Out                              40,000
            Adequate protection payments                                -

                                                                  1,009,704

            Net Cash Change                                         100,240

            Ending Cash Balance                          $          223,240
